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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 In re Application of GORSOAN LIMITED and
 GAZPROMBANK OJSC for an Order Pursuant
 to 28 U.S.C. § 1782 to Conduct Discovery for                   No. 17-cv-5912 (RJS)
 Use in a Foreign Proceeding.                                         ORDER


RICHARD J. SULLIVAN, Circuit Judge:

         The Court is in receipt of a joint letter submitted by the parties on October 13, 2020, in

which Petitioners request that the Court order Janna Bullock to produce, among other things,

(i) “account statements” from six banks at which “Bullock appears to have held multiple accounts”

(Doc. No. 78 at 3), and (ii) documents “concerning a maximum of 20 assets and/or payment

obligations implicated by” Bullock’s recent productions (id. at 4). IT IS HEREBY ORDERED

THAT no later than November 10, 2020, Petitioners shall submit to the Court a list of the six banks

and the specific assets and/or obligations that their discovery requests concern. Bullock may

submit a response to Petitioners’ request by November 13, 2020.



SO ORDERED.

Dated:          November 7, 2020
                New York, New York

                                                      RICHARD J. SULLIVAN
                                                      UNITED STATES CIRCUIT JUDGE
                                                      Sitting by Designation
